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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
Western

UNITED STATES OF AMERICA,

 

Plaintiff,
vs. Case No. 2:04CR20421

Latisha Pettigrew

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $$500.00,
payable to Glenda Pettigrew at 243 Northwind, Marion, AR in full refund of the cash appearance bond

posted herein.

ni d States District Jud§e
_ J. D niel Breen
/ , . /
Date: rv;/§LO//U 5

Approved.
Robert R. Di Trolio, Clerk of Court

BY OM%M

Deputy}?lerk d d

 

 

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Th\s doc\,. ment entered on the docket sheet \n compl

with Hil|e 55 andl'or 321b\ FRCrP on

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UNITED sTATE mle COURT - WESTERN D'S'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:04-CR-20421 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

